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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHRYN TOWNSEND GRIFFIN,
HELEN McDONALD,
CHERRIGALE TOWNSEND,

Plaintiffs,

Vs. CASE NO:

COMPLAINT FOR
COPYRIGHT
INFRINGEMENT AND
DEMAND FOR JURY
TRIAL

EDWARD CHRISTOPHER SHEERAN, p/k/a

ED SHEERAN, ED SHEERAN LIMITED,

GINGERBREAD MAN RECORDS,

AMY WADGE, AMY WADGE RECORDS,

JAKE GOSLING, STICKY STUDIOS,

SONY/ATV MUSIC PUBLISHING, LTD. UK,

SONY/ATV MUSIC PUBLISHING,

ATLANTIC RECORDING CORPORATION

d/b/a, ATLANTIC RECORDS, ATLANTIC RECORDS, (UK),

BDi MUSIC, BUCKS MUSIC GROUP and

WARNER MUSIC GROUP CORPORATION,

d/b/a ASYLUM RECORDS,

WARNER MUSIC GROUP, LTD. (UK),

Defendants.
/

 

COMPLAINT FOR COPYRIGHT INFRINGEMENT

COME NOW, the Plaintiffs, KATHRYN TOWNSEND GRIFFIN, CHERRIGALE
TOWNSEND, and HELEN McDONALD, who, by and through their undersigned counsel(s),
hereby sue the enumerated Defendants, Amy Wadge, Individually, and d/b/a Amy Wadge

Records, Jake Gosling, Individually, and d/b/a STICKY STUDIOS, Edward Christopher Sheeran
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(professionally known as "Ed Sheeran") Individually, and d/b/a GINGERBREAD MAN
RECORDS, SONY/ATV MUSIC PUBLISHING, LTD. UK, SONY/ATV MUSIC
PUBLISHING, ASYLUM RECORDS, ATLANTIC RECORDS, INC., ATLANTIC RECORDS,
UK, BDi MUSIC, BUCKS MUSIC GROUP and WARNER MUSIC GROUP and would further
allege as follows:

Nature of the Case

1. This is an action for copyright infringement, in violation of 17 U.S.C. 4] 101, ez seq.,
arising from the Defendants’ unauthorized reproduction, distribution and/or public performance
of the Plaintiffs’ copyrighted musical composition “Let's Get it On” (Let's) using the hit song,
“Thinking Out Loud” (“Thinking”’), written by Amy Wadge and Ed Sheeran and subsequently
recorded by Ed Sheeran.

Jurisdiction

2. The Court has jurisdiction over the subject matter of this action under 28 U.S.C. §
1338(a) because this action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et. seq.

3. This Court has personal jurisdiction over the enumerated Defendants because they
have directed their activities and marketing of the infringing works to New York residents, and
New York residents are able to purchase, download, and stream the infringing compositions and
recordings. As such, the Defendants have engaged in continuing business activities in the instant
jurisdiction.

4. The instant Defendants are, at a minimum, constructively aware of their continuous

and substantial commercial interactions with New York residents.
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5. The Defendant, Mr. Ed Sheeran, has performed, and he and the other Defendants
have authorized, organized, and promoted performances of the infringing work numerous times
in New York.

6. The Defendants have generated touring revenues from the unauthorized and unlawful
exploitation of the infringing work, including receiving substantial revenue from such
exploitation in New York.

7. The Defendants, individually and collectively, have generated substantial revenue
from the exploitation of the infringing works in New York.

8. New York has a considerable interest in adjudicating disputes wherein New York
residents are the target of the harm resulting from exploitation of the infringing work.

9. The Defendants herein, despite being primarily based in the U.K., facilitated the
infringing acts occurring in the U.S., and actively participated in a scheme aiding, inducing, and
contributing to copyright infringement in the U.S.

10. For those Defendants primarily based out of the U.K., given their willful and
knowing exploitation of the infringing work in New York, each could reasonably anticipate
being sued in a court in the U.S., and New York, specifically.

11. Venue is proper in this Judicial District pursuant to 28 U.S.C 1391 (b), 1391 (c), and
1400(a) , respectively, because Defendants maintain offices in and are subject to personal
jurisdiction in this Judicial District and have committed unlawful acts of infringement in this
Judicial District.

12. The Plaintiffs at issue herein are the heirs of Mr. Ed Townsend, co-writer of the

lyrics of Let’s Get It On and creator of its musical composition, and are engaged, among other
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things, in conducting the business of music publishing and otherwise commercially availing
musical composition copyrights of the music of Mr. Ed Townsend.

13. Upon reasonable information and belief, the Defendant, Edward Sheeran, is a
musician, singer, songwriter, and producer living in the United Kingdom who does business in
New York, Individually, and under Gingerbread Man Records. Sheeran was nominated for a
Grammy Award for Best Record, Best Performance, and Song of the Year in 2016 for Thinking.
Sheeran conducts systematic and continuous business in New York including, but not limited to,
public performances, and selling albums and merchandise to the citizens of New York. The
Defendant, Edward Sheeran has reproduced, distributed, and publicly performed the infringing
work and sound recording and/or authorized its reproduction, distribution, and public
performance.

14. Upon reasonable information and belief, the Defendant, Ed Sheeran, Ltd., conducts
systematic and continuous business in NewYork and is the commercial entity which handles
touring arrangements for the Defendant, Edward Sheeran, including any performances of the
infringing work in New York.

15. Upon information and belief, Mr. Jake Gosling, (““Mr. Gosling”) is a singer, music
producer, and songwriter living in the United Kingdom who does business, Individually, and as
Sticky Studios and The Movement, and has been nominated for a Grammy for Best Record in
2016 for Thinking. The Defendant, Mr. Gosling, regularly conducts business in the State of New
York and in the instant jurisdiction. The Defendant, Mr. Gosling, claims authorship and/or
production credit for Thinking, and shares in the income derived from the exploitation of
Thinking. The Defendant, Mr. Gosling is violating Plaintiffs’ copyrights in Let’s by claiming

ownership in, and sharing income derived from the exploitation of Thinking.
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16. Upon reasonable information and belief, Amy Wadge, (““Ms. Wadge”) is a singer,
music producer, and songwriter living in the United Kingdom who does business, Individually,
and as Amy Wadge Studios and Amy Wadge Records. The Defendant, Ms. Wadge is a music
producer and songwriter who regularly conducts business in the State of New York and in this
jurisdiction. The Defendant, Ms. Wadge, claims authorship and ownership of Thinking, and
shares in the income derived from the exploitation of Thinking. The Defendant, Ms. Wadge, is
violating Plaintiffs’ copyrights in Let's by claiming ownership in, and sharing income derived
from the exploitation of Thinking.

17. Upon reasonable information and belief, SONY/ATV MUSIC PUBLISHING, LTD.
UK is a business entity headquartered in the United Kingdom and regularly doing business in
New York through its affiliate, SONY/ATV MUSIC PUBLISHING.

18. Upon reasonable information and belief, SONY/ATV MUSIC PUBLISHING is a
Delaware corporation with its principal place of business in New York, New York. Upon
reasonable information and belief, Sony/ATV is the music publisher for Thinking and Let’s and
is in a unique position to have known about and/or participated in the exploitation of either or
both works.

19. Upon reasonable information and belief, BUCKS MUSIC GROUP is a business
entity headquartered in the United Kingdom and regularly doing business in New York.

20. Upon reasonable information and belief, WARNER MUSIC GROUP, d/b/a Asylum
Records, is a Delaware corporation with its principal place of business in New York.

21. Upon reasonable information and belief, BDi MUSIC is a business entity

headquartered in the United Kingdom and regularly doing business in New York.
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22. Upon reasonable information and belief, ASYLUM RECORDS is a Delaware
limited liability company regularly doing business in New York. The Defendant, Asylum, is
responsible for the manufacturing, distribution, marketing and promotion of Thinking and has
benefitted extensively from the sale of Thinking.

23. Upon reasonable information and belief, ATLANTIC RECORDS is a Delaware
corporation with its principal place of business in New York. The Defendant, Atlantic Records,
is owned by Warner Music Group which also has its principal place of business in New York.
The Defendant, Atlantic Records, is responsible for the production, manufacture, distribution,
marketing, sale and promotion of Thinking in the United States.

24. Upon reasonable information and belief, Defendant, Sony/ATV Tunes, LLC is a
Delaware limited liability company doing business in New York ("Sony/ATV Tunes"). The
Defendant, Sony/ATV Tunes, is a music publisher of the infringing composition Thinking and
has authorized its reproduction, distribution, and public performance.

25. Upon reasonable information and belief, the Defendant, Sony/ATV Music
Publishing, Ltd. ("Sony/ATV Publishing") is a UK corporation which as offices doing business
in New York. The Defendant, Sony/ATV Publishing, is a music publisher of the infringing
composition, Thinking, and has authorized its reproduction, distribution, and public performance.

Ownership of Let’s Get it On

26. The musical composition, Let’s Get Jt On, was written by Marvin Gaye (‘Gaye”’) and
Ed Townsend (“Townsend") and recorded by Gaye, in 1973.

27. It is undisputed by all parties that the Townsend Heirs, Gaye Heirs and David

Pullman own 100% of the copyright.
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The Heart of Let’s Get It On

28. The harmonic, melodic, and rhythmic elements of composition in Let's Get It On
have made this song one (1) of the most famous songs in R&B and soul music history. Let’s has
been anthologized by celebrated music producers and ranked as the 20th greatest breakbeat of all
time.

29. Let's, begins with an iconic melody, harmony and rhythm that are recognized around
the world. The prominence of the bass line and drum composition throughout Let's make these
compositional elements qualitatively important to the musical work as a whole. The
combination of these elements is the driving force of this composition.

Thinking Out Loud

30. The enumerated Defendants released Thinking by the artist, Ed Sheeran on or about
September 24, 2014, including without limitation, on the album, X.

31. Upon reasonable information and belief, Thinking has hit the number one (1) position
on the national charts in eleven (11) countries since 2014, and has been certified platinum
multiple times by the Recording Industry Association of America, indicating sales in excess of
one million (1,000,000) copies sold in the United States, as well as substantial sales
internationally.

32. According to the Official Charts Company, the recording of Thinking is one (1) of
the best-selling singles of all time in the U.K., having sold over 2 million (2,000,000) copies.

33. Upon reasonable information and belief, the Defendants have authorized the use of
Thinking in compilation albums, television commercials and music videos.

34. Specifically, the music video for Thinking is one (1) of the most popular sponsored

music videos on YouTube. Prior to the viewing of Thinking on YouTube, an advertisement
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appears for which the Defendants are entitled to and receive a royalty or other revenue. As of
April 2016, Thinking has been played over one billion (1,000,000,000) times on YouTube.
Ed Sheeran

35. The instant Defendant, Mr. Edward Sheeran, professionally known as “Ed Sheeran”’,
is a musical artist. The Defendant, Mr. Edward Sheeran, experienced a sharp and sudden rise as
an international music star in less than eighteen (18) months as a direct result of the commercial
success of Thinking, the lead single in the United States from Sheeran’s debut album, ‘:X”’.

Defendants Infringed Let’s Get It On

36. The harmonic progressions, melodic and rhythmic elements, as observed in Let's,
have made Let’s one of the most well-known and instantly recognizable songs in R&B history.

37. These elements of Let's composition are the “heart” or qualitatively, the most
important elements of the song as indicated by critical acclaim,

38. The Defendant, Mr. Edward Sheeran, has had access to Let’s by virtue of its wide
dissemination, and, in fact, has referenced and performed the song while performing Thinking.
In addition, the Defendant, Edward Sheeran, by and through the Defendant, SONY/ATV, had
increased access to Let's because both songs are administered through SONY/ATV.
Futhermore, Let's is available on every major digital retailer and streaming service including,
without limitation, iTunes and Amazon.

39, The Defendants copied the "heart" of Ler’s and repeated it continuously throughout
Thinking.

40. The melodic, harmonic, and rythmic compositions in Thinking are not the product of

independent creation.
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41. The melodic, harmonic, and rythmic compositions of Thinking are substantially
and/or strikingly similar to the drum composition from Let's.

42. The instant Defendants copied, reproduced, distributed, and/or publicly performed
copyrightable elements of Let’s, specifically, the melodic, harmonic, and rythmic compositions
of Let’s, without authorization.

43. To date, each of the Defendants reproduced, distributed, publicly performed, and/or
authorized the reproduction, distribution, and public performance of the infringing composition
and sound recording Thinking and each of the Defendants continues to infringe Let’s.

44. No one ever licensed the Let's melodic, harmonic, and rhythmic compositions to the
Defendants.

The Infringement by the Defendants is Willful

45. The Defendants were notified of the infringement on or about April 15, 2015 by
electronic mail or telephone (the "Notice").

46. Despite receiving the Notice the Defendants continued to exploit Thinking without
permission to use the melodic, harmonic, and rhythmic compositions copied from Let’s, the
infringed work.

47. Despite the Notice, all of the Defendants have continued to infringe Plaintiffs’
copyrighted work.

48. The infringement by the Defendants is willful, as evidenced by their continuing to
infringe Let’s after the Notice was provided to them.

49. The Defendants knowingly and intentionally infringed Plaintiffs’ rights. The

Defendants' collective knowledge and intent are established by, among other things, the fact that
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Defendants to this day have neither sought, nor obtained, a license from the Plaintiffs. All
conditions precedent to the maintenance and/or establishment of the instant action have been
satisfied and/or, otherwise, waived by the Defendants.

FIRST CAUSE OF ACTION
(Copyright Infringement - 17 U.S.C. § 101., et.seq.)

50. The Plaintiffs repeat and reallege Paragraphs One (1) through Forty-Nine (49), as
though fully set forth herein.

51. The Defendants' reproduction, distribution, and public performances of the infringing
work, Zhinking, continue to this day, and Defendants have not deigned to compensate Plaintiffs
for the use of the copyrighted work in Let’s to be used for Thinking, despite the fact that they
have received money and other substantial benefits from Plaintiffs’ composition.

52. The Defendants' reproduction, distribution, public performance of Thinking, and
authorizing others to do the same, infringes Plaintiffs’ exclusive rights under the Copyright Act.

53. The conduct of the Defendants is knowing and willful.

54. As a direct and/or proximate result of the Defendants’ wrongful conduct, the
Plaintiffs have been irreparably harmed, suffered damage, and Defendants have profited in an
amount to be determined at trial.

SECOND CAUSE OF ACTION
(Infringement of Copyright Claim for
Statutory Damages)

55. The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty-Nine (49),

and Fifty-One (51) through Fifty-Four (54), as though fully set forth herein.

56. The Defendants infringed Plaintiffs’ exclusive copyright in "Let’s" when they copied

substantial parts of it. Such copying was wholly unauthorized, as it was without any manner of
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license, consent, or authority from the Plaintiffs, the copyright owners. By virtue of this
unauthorized copying, the Defendants have realized illegal revenues.

57. The Defendants infringed on Plaintiffs’ exclusive copyright in "Let's" when the
Defendants mechanically reproduced and released sound recordings, including compact discs
and other phono-records embodying "Thinking". Such reproduction and release was wholly
unauthorized, as it was without any license or consent of authority from the Plaintiffs. By virtue
of this unauthorized commercial exploitation, Defendants have realized illegal revenues.

58. The Defendant, UNIVERSAL, infringed on Plaintiffs’ exclusive copyright in "Let's"
when Defendants distributed and sold sound recordings, including compact discs, phono-records
and video recordings, embodying "Thinking". Such reproduction and release was wholly
unauthorized, as it was without any license or consent of authority from the Plaintiffs. By virtue
of this unauthorized commercial exploitation, Defendants have realized illegal revenues.

59. The Defendants infringed Plaintiffs’ exclusive copyright in "Ler’s" when they issued
and/or authorized others to issue licenses to third parties for the use, publication, and exploitation
of "Thinking". Said licenses were issued without any consent or authority from Plaintiffs, the
copyright owners of "Let’s," from which "Thinking" was substantially copied. By virtue of this
unauthorized commercial exploitation, Defendants have realized illegal revenues.

60. As a direct and/or proximate result of the Defendants’ infringement on Plaintiffs’
exclusive copyright in Let’s, Plaintiffs have suffered damages. Said injuries are continuing and
will not abate in the future.

61. Pursuant to 17 U.S.C. § 504 (c), the Plaintiffs are entitled to statutory damages.

62. The above-chronicled actions of enumerated Defendants were committed willfully,

and by reason thereof, in the event that Plaintiffs elect to recover statutory damages, they are
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entitled to an increase of the award to a sum of up to $150,000 pursuant to 17 U.S.C. § 504

(c)(2).
THIRD CAUSE OF ACTION
(False Designation of Origin Under the Lanham Act §43 (a),
15 U.S.C. §1125 (a)-Against all Defendants)

63. The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty-Nine (49),
as though fully set forth herein.

64. By distributing, marketing, and otherwise exploiting the Infringing Song in interstate
commerce while giving themselves credit for the Plaintiffs’ work, the Defendants have falsely
represented to the public that Defendants have independently created, and are authors of,
Thinking.

65. As aresult, members of the public have been deceived and/or confused into
believing that Thinking is the independent creation of the Defendants. The Plaintiffs are
seriously injured by such deception, in that it negatively impacts their ability to distribute,
market, and otherwise exploit Ler’s. This deception also has a negative impact on the Plaintiffs
because they are not receiving the credit due for the success experienced by Thinking.

66. By engaging in the wrongful conduct described herein and above, Defendants have
violated Section 43 (a) of the Lanham Act, 15 U.S.C. §1125 (a) for False Designation of Origin.
Because the Defendants have engaged in the conduct described herein with fraudulent intent, and
with the actual knowledge of the harm being caused to the Plaintiffs by such wrongful
conduct/acts, this is an exceptional case which merits an award of treble damages and attorney’s
fees against said Defendants.

67. The Defendants' acts and conduct have caused, and will continue to cause, Plaintiffs

great and irreparable injury that cannot be adequately compensated or measured in damages.
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Plaintiffs have no adequate remedy at law and will suffer immediate and irreparable loss,
damage, and injury unless Defendants are restrained and enjoined from continuing to engage in
such wrongful conduct.
FOURTH CAUSE OF ACTION
("Reverse Passing Off" Under the Lanham Act §43(a), 15 U.S.C.
§1125 (a)- Against All Defendants)

68. The Plaintiffs reallege and incorporate paragraphs One (1) through Forty-Nine (49),
and Sixty-Four (64) through Sixty-Seven (67), as though fully set forth herein.

69. The Defendants have appropriated and copied the original expression of Let's,
without consent, credit, or compensation, by writing, performing, and recording Thinking.

70. As aresult, members of the public have been deceived and/or confused into
believing that Thinking is the independent creation of the Defendants. The Plaintiffs are
seriously injured by such deception and misattribution, in that it negatively impacts their ability
to distribute, market, and otherwise avail themselves of Let’s.

71. By engaging in the wrongful conduct described herein and above, Defendants have
violated section 43 (a) of the Lanham Act, 15 U.S.C. §1125 (a) for Reverse Passing Off.
Because the Defendants have engaged in the conduct described herein with fraudulent intent, and
with the actual knowledge of the harm being caused to the Plaintiffs by such wrongful
conduct/acts, this is an exceptional case which merits and award of treble damages and
attorney’s fees against the Defendants.

72. The Defendants’ aggregate acts and conduct have caused, and will continue to cause,
the Plaintiffs great and irreparable injury that cannot be adequately compensated or measured in

damages. The Plaintiffs have no adequate remedy at law and will suffer immediate and
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wreparable loss, damage, and injury unless the Defendants are restrained and enjoined from
continuing to engage in such wrongful conduct.

FIFTH CAUSE OF ACTION
(Unjust Enrichment-Against All Defendants)

73. Plaintiffs reallege and incorporate Paragraphs One (1) through Forty-Nine (49), as
though fully set forth herein.

74. By reason of the foregoing facts, the Defendants, and each of them, have become
unjustly enriched at the expense of Plaintiffs by failing to license the right use Let’s and by
realizing monetary gain from their unauthorized use of Let's.

75. The Defendants, and each of them, have been unjustly enriched in an amount which
cannot be precisely ascertained at this time, but will be ascertained according to proof at trial.

SIXTH CAUSE OF ACTION
(Demand for Accounting-Against All Defendants)

76. The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty-Nine (49),
Fifty-One (51) through Fifty-Four (54), and Fifty-Six (56) through Sixty-Two (62), as though
fully set forth herein .

77. As explicated herein above, the Plaintiffs have an interest in all of the money that is
generated from the distribution and any other exploitation of Thinking in that they are the
copyright owners of Let's. Moreover, Plaintiffs have an interest in any future exploitation of
Thinking and any royalties which result from any such future exploitation.

78. The Plaintiffs are informed and believe that Defendants have generated an
undetermined—yet substantial—amount of money, due to the commercial success of Thinking
and the XY album through sales, distribution, promotion, circulation, and other exploitation of

Thinking.
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79. The amount of money/proceeds due from the Defendants is unknown to Plaintiffs
and cannot be ascertained without an accounting of all of the Defendants’ financial records
related to Thinking.

80. As a result of the Defendants' actions, Plaintiffs have been damaged in an amount to
be proven after an accounting has been conducted. Accordingly, Plaintiffs hereby request that the
Court order an accounting of all of Defendants’ financial records related to Thinking in order to
determine the sums rightfully due to Plaintiffs and that those sums be paid to them.

SEVENTH CAUSE OF ACTION
(Preliminary and Permanent Injunction)

81. The Plaintiffs repeat and reallege Paragraphs One (1) through Forty-Nine (49), Fifty-
One (51) through Fifty-Four (54), and Fifty-Six (56) through Sixty-Two (62), as though fully set
forth herein.

82. The Plaintiffs have a likelihood of eventual success in this litigation.

83. The Plaintiffs will suffer irreparable harm if injunctive relief is not granted by this
Court.

84. The Defendants’ unauthorized distributions of Plaintiffs’ intellectual property are
causing irreparable harm to the instant Plaintiffs.

DEMAND FOR JURY TRIAL

85. The Plaintiffs, respectfully, request a trial by jury on all claims asserted in this
Complaint.

WHEREFORE, the Plaintiffs, collectively, respectfully request that judgment be entered
against the enumerated Defendants, as follows:

A. For judgment that Defendants have violated the Copyright Act and that all such
violations have been willful; and
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B. For judgment entering a preliminary and permanent injunction (and waiver of bond)
enjoining and restraining Defendants and their officers, agents, servants, employees and
attorneys and all those in active concert or participation with them, from infringing
Plaintiffs exclusive rights under the Copyright Act by reproducing, distributing and
publicly performing Thinking, and authorizing others to the same; and

C. For judgment assessing Defendants for the damages suffered by Plaintiffs, including
an award of actual damages and Defendants’ profits attributable to the infringement, or
statutory damages (at Plaintiffs’ election) under the Copyright Act, as well as costs and
attorney's fees to the full extent provided for by Sections 501, 504 and 505 of the
Copyright Act, 17 U.S.C. §§ 501, 504 and 505; and

D. For a judgment directing that Defendants deliver up for destruction to Plaintiffs all
copies of Thinking in their possession or under their control, pursuant to 15 U.S.C. §
1118 and 17 U.S.C. § 503; and

E. For judgment granting such other, further, and different relief as to the Court may
seem just and proper, including Plaintiffs’ costs and reasonable attorneys’ fees.

DATED: July 28, 2016

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eo
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